                                                                  August 11, 2016




                                 JUDGMENT

                 The Fourteenth Court of Appeals
  STERLING INTERESTS INVESTMENTS, INC. D/B/A ELITE COLLISION
                       CENTER, Appellant

NO. 14-15-00078-CV                     V.

                     CC AUTO BROKERS, INC., Appellee
                     ________________________________

     This cause, an appeal from the final judgment in favor of appellee CC Auto
Brokers, Inc., signed December 15, 2014, was heard on the transcript of the record.
We have inspected the record and find no error in the judgment. We order the
judgment of the court below AFFIRMED.

      We order appellant Sterling Interests Investments, Inc. d/b/a Elite Collision
Center to pay all costs incurred in this appeal.

      We further order this decision certified below for observance.
